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                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


           J.O.P., et al.,                         :
                                                   :
                         Appellees,                :
                                                   :
                         v.                        :         25-1519
                                                   :
           U.S. Department of Homeland             :
           Security, et al.                        :
                                                   :
                         Appellants.               :

                      APPELLANTS’ MOTION TO SUSPEND BRIEFING

                  Defendant-Appellants (“the Government”), pursuant to Local Rule

           27(f), respectfully move the Court to suspend briefing to allow the

           Government time to seek an indicative ruling pursuant to Fed. R. Civ. P. 62.1

           from the United States District Court of Maryland on a forthcoming motion

           for relief from the April 23, 2025, district court order (ECF 254).1 In the

           coming weeks, the Government plans to seek an indicative ruling on relief

           from the district court’s order under Fed. R. Civ. P. 60(b) in full because, even

           though the order was unlawfully entered, the Government believes that it has


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            Because the district court’s order at ECF No. 254 is the subject of this appeal,
           the district court is divested of its control over that order and would lack
           authority to grant the government’s forthcoming motion. City of Martinsville,
           Virginia v. Express Scripts, Inc., 128 F.4th 265, 269 (4th Cir. 2025) (an appeal
           “divests the district court of its control over those aspects of the case involved
           in the appeal.”) (citing Coinbase, Inc. v. Bielski, 599 U.S. 736, 740 (2023)).
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           nonetheless complied with the order, and that the injunction on appeal should

           therefore be dissolved. See Fed. R. Civ. P. 60(b)(5) (“On motion and just

           terms, the court may relieve a party . . . from a final judgment, order, or

           proceeding    [when] the    judgment    has    been   satisfied,   released,   or

           discharged”). And if the injunction were dissolved, this case would become

           moot.

                   Given this anticipated motion, the Government seeks to suspend

           briefing pending an indicative ruling from the district court on this anticipated

           motion, which may affect the ultimate resolution of this appeal. The

           Government therefore respectfully submits that a suspension of briefing of the

           instant proceedings is justified because doing so would secure “the just,

           speedy, and inexpensive determination” of these proceedings. Fed. R. Civ. P.

           1. If Appellants can obtain relief from the district court, this appeal may no

           longer be necessary, thus serving the interests of judicial economy and

           conserving party resources. See, e.g., Jones v. McDaniel, 717 F.3d 1062, 1069

           (9th Cir. 2013) (dismissing appeal in reliance on district court’s indicative

           ruling).

                   Therefore, the Government respectfully requests that this motion be

           granted, and that the appeal brief be suspended pending an indicative ruling

           from the district court on the upcoming motion to dissolve. See, e.g., La Union


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           Del Pueblo Entero v. Ross, 771 Fed. App’x. 323 (4th Cir. 2019) (unpublished)

           (granting motion to remand certain issues “for further proceedings . . . so that

           the district court may address and resolve the matters identified in its

           Indicative Ruling”).

                 Accordingly, the briefing should be suspended pending the district

           court’s disposition of the upcoming motion for relief. The Government will

           then promptly notify the circuit clerk of the district court’s disposition

           pursuant to Rule 12.1(a). Undersigned counsel met and conferred with

           Plaintiffs’ counsel regarding the Government’s motion to hold this case in

           abeyance (Dkt. No. 38). Plaintiffs opposed that motion because they were not

           apprised of the basis for the Government’s forthcoming motion for relief from

           the April 23, 2025 order, and because the Government did not explain when

           it would file any such motion. Because this motion seeks largely the same

           relief and the Government remains unable to provide Plaintiffs additional

           details, undersigned counsel did not meet and confer again.


           Dated: June 30, 2025                          Respectfully submitted,

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                                                         Civil Division

                                                         WILLIAM C. PEACHEY
                                                         Director


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                                   CERTIFICATE OF SERVICE

                 I hereby certify that on June 30, 2025 I electronically filed the foregoing

           motion with the Clerk of the Court for the United States Court of Appeals for

           the Fourth Circuit by using the appellate CM/ECF system. Participants in the

           case are registered CM/ECF users, and service will be accomplished by the

           appellate CM/ECF system.



                                                         /s/ Erhan Bedestani
                                                         Erhan Bedestani

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                                                         Appellants




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